
41 So. 3d 429 (2010)
Alonzo McCREE, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-3271.
District Court of Appeal of Florida, Fifth District.
August 6, 2010.
*430 James S. Purdy, Public Defender, and Anne Moorman Reeves, Assistant Public Defender, Daytona Beach, for Appellant.
No Appearance for Appellee.
PER CURIAM.
Affirmed. See Donaldson v. State, 722 So. 2d 177, 182 (Fla.1998)(noting that it is not the function of an appellate court to retry a case or reweigh conflicting evidence considered by the trier of fact).
MONACO, C.J., and ORFINGER and LAWSON, JJ., concur.
